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                                 Attorneys for Defendant
                              12
                                 CITY OF PETALUMA (erroneously sued herein as CITY OF PETALUMA and
                              13 PETALUMA POLICE DEPARTMENT)

                              14                                    UNITED STATES DISTRICT COURT
                              15                                 NORTHERN DISTRICT OF CALIFORNIA
                              16                                         SAN FRANCISCO DIVISION
                              17 JANINE NARETTO, MATTHEW                                    Case No. 21-cv-10027-EMC
                              18
                                 ERICKSON, JONATHAN THOMAS
                                 HOLDWAY, TODD SIMONE, individuals;
                              19 HOMELESS ACTION! an unincorporated                         DEFENDANT CITY OF PETALUMA’S
                                 association, on behalf of itself and those it              STATUS REPORT
                              20 represents,

                              21
                                                           Plaintiffs,                      DATE:   June 10, 2022
                              22                                                            TIME:   3:30 p.m.
                                   v.                                                       DEPT:   Zoom/Courtroom 5
                              23

                              24 CITY OF PETALUMA and PETALUMA
                                   POLICE DEPARTMENT,
                              25

                              26                           Defendants.

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                              28


                                   Defendant C/Petaluma’s Status Report [21-cv-10027-EMC]
                               1           Pursuant to the Court’s request (Dkt. 78), Defendant City of Petaluma provides this status
                               2 report and updated chart on its ongoing outreach efforts and offers of housing to the unsheltered

                               3 community members at Steamer Landing Park, as follows:

                               4           On May 12, 2022, the Court ordered that the previously issued preliminary injunction
                               5 which prohibited the City from enforcing its anti-camping ordinance and/or removing the

                               6 individual named Plaintiffs from the Steamer Landing Park will be dissolved effective as of June

                               7 10, 2022. Pursuant thereto, the Court ordered the City to provide an update as to its ongoing

                               8 outreach efforts and offers of shelter. Both prior to that ruling and continuing at all times

                               9 thereafter, the City and its community partners have engaged in outreach efforts which are

                              10 focused on helping the unsheltered community members to understand and avail themselves of

                              11 available services, including offers of shelter. Those opportunities are directly shared with the
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                              12 campers via a number of methods, including direct discussions, on-site meetings, the

                              13 dissemination of literature (which is personally handed to the campers, as well as posted at

                              14 Steamer Landing) through the City’s community partners, as well as through the internet. Those

                              15 outreach efforts have also included several visits to Steamer Landing, wherein representatives

                              16 from the City have personally visited every camp and attempted to meet with every person on-

                              17 site to not only advise of the impending closure, but to also advise on the options available for

                              18 shelter and to assist the unsheltered community members in identifying and receiving services.

                              19           Although the City and its community partners outreach efforts have been ongoing since
                              20 before this litigation was commenced, this status report will focus on the actions taken following

                              21 the Court’s May 12, 2022, ruling.

                              22           On May 18, 2022, representatives from the City visited each of the campsites at Steamer
                              23 Landing to personally notify the campers of the impending closure of the encampment. In

                              24 addition to verbally advising each camper of the options available for shelter, written materials

                              25 were left that not only advised of the specific closure dates, but also provided information on

                              26 how to obtain services. Copies of those materials are attached hereto as Exhibit 1. The specific

                              27 individuals who were contacted during that visit were as follows:

                              28 ///

                                                                                            1
                                   Defendant C/Petaluma’s Status Report [21-cv-10027-EMC]
                               1               1.) Vasquez-Cruz, Roberto Fidel-Camp 2L
                               2               2.) Garcia, James Anderson-Camp lL
                               3               3.) Mahoney, Karen-Parking lot
                               4               4.) Silva, Joel-Camp 5S
                               5               5.) Gonzalez, Jorge-Camp 8S
                               6               6.) Monroe, Fredrick Pressler-Camp 12S
                               7               7.) Irving, Matthew-Camp 14L
                               8               8.) Lynch, Daniel-Camp 20S
                               9               9.) Reys-Caballero, Edwin-Camp 3S
                              10               10.) DeRosa, Shawna-Camp 16S
                              11               11.) Nejia, Nelly-Camp 18S
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                              12               12.) Jose-Rivera, Guadalupe-Camp 18S
                              13               13.) Thornton, Melody-Camp 25L
                              14               14.) Engelhardt, Oden-Camp 25L
                              15               15.) Mcllvian, Walter-Camp 4L
                              16               16.) Gutierrez, Jesus-none specifically
                              17               17.) Gray, Adam-none specifically
                              18               18.) Flores, Jorge-Camp 26S
                              19               19.) Christ, Gary-Camp 28S
                              20               20.) Tournahu, Robert-Camp 29S
                              21               21.) Hudnell, William-Camp 31S
                              22               22.) Simone, Todd-Camp 31L
                              23               23.) Sluys-Dunbar-Camp 31L
                              24               24.) Santos, Abraham-Camp SE side of the Peninsula
                              25               25.) Holman, Marcus-Camp NW side of the Peninsula by the Barn
                              26               26.) Kennedy, James-Camp NW side of the Peninsula by the Barn
                              27               27.) Eads, Robyn-Camp SW side of Peninsula by water
                              28   ///
                                                                                            -2-
                                   Defendant C/Petaluma’s Status Report [21-cv-10027-EMC]
                               1               28.) Elawand, Jason-Camp SW side of Peninsula by water
                               2               29.) Gracie, Shelly-Camp SE side of the Peninsula
                               3           On May 22, 2002, a further visit was undertaken where representatives again contacted
                               4   the campers, including disseminating information and literature, including having the literature
                               5   translated into Spanish. In addition to meeting personally with each of the campers, notices
                               6   were also posted in English and Spanish at the entrances to Steamer Landing. Copies of those
                               7   materials are attached hereto as Exhibit 2. The following additional people were provided
                               8   literature during the May 22, 2022, visit:
                               9                   1.) Jorge Gonzalez
                              10                   2.) James Anderson Garcia
                              11                   3.) Hugo Lopez
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                              12                   4.) Edwin Reyes-Caballero
                              13           Another visit was conducted on May 25, 2022. During that visit, representatives again
                              14   met with the individual campers and again advised of the impending closure, including
                              15   providing literature on the options for obtaining shelter and/or services. That information was
                              16   provided both orally and in writing.
                              17           A further visit was on June 3, 2022. In addition to verbally advising each camper of the
                              18   options available for shelter, written materials were left that not only advised of the specific
                              19   closure dates, but also provided information on how to obtain services. Copies of those
                              20   materials are attached hereto as Exhibit 3.
                              21           In addition to the foregoing, City staff and COTS were also on-site following a fire that
                              22   originated in the encampment from an unsupervised flame in one of the campsites. The fire
                              23   completely destroyed two campsites while endangering other campsites and neighboring
                              24   structures. Fortunately, no significant injuries resulted from that fire. Following the Petaluma
                              25   Fire Department and the Petaluma Police Department bringing the matter under control,
                              26   representatives from the City and COTS took the opportunity to meet with campers and again
                              27   offered services, including shelter.
                              28   ///
                                                                                            -3-
                                   Defendant C/Petaluma’s Status Report [21-cv-10027-EMC]
                               1           The City and it’s community partners, including COTS, DST, PCH, and SAFE Team, are
                               2   currently planning to conduct another on-site signup during the week of June 6, 2022, in
                               3   furtherance of their efforts to enroll the unsheltered community members for Coordinated Entry
                               4   and/or to extend offers of shelter.
                               5           In addition to the foregoing, the City’s community partners (including specifically
                               6   COTS) have continued to make regular visits to the site to meet with and extend offers of
                               7   shelter. As this Court is aware, the City and its community partners have been conducting
                               8   outreach efforts since long prior to this litigation being commenced. Those efforts have
                               9   remained ongoing and include almost daily visits to Steamer Landing Park by COTS’ outreach
                              10   specialist Randy Clay.1 Details of COTS’ and Mr. Clay’s ongoing outreach efforts are included
                              11   in the attached Exhibit 4, which is a spreadsheet maintained by COTS that reflects the status of
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                              12   housing offers, responses, and other relevant information for all campers at Steamer Landing.
                              13   This spreadsheet incorporates Mr. Clay’s notes from his visits to Steamer Landing and reflects
                              14   the most current list of Steamer Landing Park campers. As is noted on the spreadsheet, each and
                              15   every camper at Steamer Landing has been personally contacted and offered services, including
                              16   shelter. In addition, each of the campers has been provided literature which identifies some of
                              17   the other service providers that are available to the campers.
                              18           In addition, all unsheltered community members are still, and have always been,
                              19   welcome to join COTS during its lunch and dinner periods where free meals are provided, and
                              20   COTS’ personnel can assist interested individuals in completing applications for shelter, with
                              21   COTS having multiple open beds. Further, COTS staff, as well as the City’s other community
                              22   partners, will be working to leverage any and all options to support housing placements –
                              23   Emergency Housing Vouchers, Veterans Housing Vouchers, Coordinated Entry Permanent
                              24   Supportive Housing Placements, Rapid Rehousing, and case management support in hopes of
                              25

                              26

                              27   1
                                    Additional outreach efforts are also provided by the City’s other community partners, including for
                              28   example, the Downtown Streets Team and Catholic Charities. Since the primary offers of shelter to the
                                   Plaintiffs have been extended by COTS, this status report focuses only on COTS’ recent efforts.
                                                                                            -4-
                                   Defendant C/Petaluma’s Status Report [21-cv-10027-EMC]
                               1   facilitating Plaintiffs and any other unsheltered community members’ movement to permanent
                               2   housing.
                               3

                               4   Dated: June 3, 2022                     Respectfully submitted,
                               5                                           ORBACH HUFF & HENDERSON LLP
                               6                                           By:     /s/ Kevin E. Gilbert
                                                                                   Kevin E. Gilbert
                               7
                                                                                   Attorney for Defendant
                               8                                                   CITY OF PETALUMA

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                                   Defendant C/Petaluma’s Status Report [21-cv-10027-EMC]
